Case 1:24-cv-08054-MKV Document 44

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Filed 02/14/25 Page 1 of 2

CANDICE MCCRARY,
Plaintiff,
-against-

SEAN COMBS, DADDY’S HOUSE RECORDINGS
INC., CE OPCO, LLC d/b/a COMBS GLOBAL fik/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC., BAD BOY
PRODUCTIONS HOLDINGS, INC., BAD BOY BOOKS
HOLDINGS, INC., BAD BOY RECORDS LLC, BAD
BOY ENTERTAINMENT LLC, BAD BOY
PRODUCTIONS LLC, MARRIOTT INTERNATIONAL,
INC and ORGANIZATIONAL DOES 1-10,

Defendants.

Case No.: 1:24-cv-08054-MKV

NOTICE OF VOLUNTARY
DISMISSAL SOLELY OF
DEFENDANT BAD BOY
RECORDS LLC, PURSUANT
TO RULE 41(a)(1)(A)(@) OF
THE FEDERAL RULES OF
CIVIL PROCEDURE

Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the Plaintiff

Candice McCrary, by and through her undersigned counsel, hereby gives notice that the claims

made in the above-captioned Action are voluntarily dismissed, without prejudice, solely as

against Defendant Bad Boy Records LLC (“BBRLLC”).

This voluntary dismissal is not with

respect to any Defendant other than BBRLLC in the above-captioned Action. The same is

acknowledged and agreed by BBRLLC, by and through its undersigned counsel.

Dated: New York, New York
February 14, 2025

CURIS LAW, PLLC

by: fi

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— AND —

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Attorneys for BBRLLC

SO ORDERED

Judge Mary K. Vyskocil
United States District Judge

Dated: , 2025

